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11   [SEE ATTACHED PAGE FOR DEFENDANTS’ COUNSEL]
12
                          UNITED STATES DISTRICT COURT
13                       CENTRAL DISTRICT OF CALIFORNIA
14   MASSEY ENTERPRISE                     )   Case No. CV12-05327-JFW (MRWX)
     INTERNATIONAL, INC., et al.,          )
15                                         )   Assigned to: HON. JOHN F. WALTER
                 Plaintiffs,               )
16                                         )   JOINT RULE 26(f) REPORT FROM
     vs.                                   )   EARLY MEETING OF COUNSEL
17                                         )   AND PROPOSED DISCOVERY
     ASSOCIATED TELEVISION                 )   PLAN
18   INTERNATIONAL, et al.,                )
                                           )
19               Defendants.               )
                                           )
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 1           Pursuant to Rule 26(f) of the Federal Rules of Civil Procedure, the Local Rules
 2
     of the United States District Court for the Central District of California, Plaintiffs
 3
 4   Massey Enterprise International, Inc., Boy-O-Boy Entertainment, Inc., Angel Massey,

 5   Christopher Massey, and Kyle Massey (collectively, “Plaintiffs”) and Defendants
 6
     A&E Television Networks, LLC (“A&E”), Associated Television International
 7
 8   (“ATI”), David McKenzie, formerly known as David Stanton (“McKenzie”), and

 9   Helping Hands, LLC (“Helping Hands”) (collectively, “Defendants”) file this joint
10
     report and discovery plan following the conference of counsel. Plaintiffs and
11
12   Defendants do not agree as to certain portions of the joint report and, with regard to

13   such portions, have included their individual and respective statements regarding
14
     them.
15
16           Requirements of FRCP 26(f); Central District Local Rule 26-1:

17           1.    Subject Matter Jurisdiction: The Court has jurisdiction over this action
18
     pursuant to 28 U.S.C. §§ 1331 and 1338. This is an action for an alleged violation of
19
20   the United States Copyright Act. Pursuant to 28 U.S.C. §1367, the Court has pendent
21   jurisdiction over related claims that arise from the same nucleus of operative facts and
22
     from the same transactions.
23
24           2.    Brief Chronology of Facts: Plaintiffs Angel Massey, Christopher
25   Massey, and Kyle Massey (“the Masseys”) are producers and entertainers within the
26
     television and music industry. The gravamen of Plaintiffs’ claims arises from ATI’s
27
28   production of four television series, entitled Bristol Palin: Life’s a Tripp (broadcast by
                                                 3

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 1   Defendant A&E), World’s Funniest Moments, Elizabeth Stanton’s Great Big World,
 2
     and Laura McKenzie’s Traveler. Plaintiffs claim that they contracted with Defendants
 3
 4   to participate in an ATI-produced television show tentatively entitled Helping Hands.

 5   Angel Massey was the sole Creator of the show and an Executive Producer. Plaintiffs
 6
     claim that Defendants stole the original idea for the show, breached and prevented
 7
 8   Plaintiffs’ performance under these contracts, and committed tortious acts in the

 9   process, as described more fully below. Furthermore, Plaintiffs allege that ATI and
10
     McKenzie misappropriated Christopher and Kyle Masseys’ name and likeness by
11
12   producing World’s Funniest Moments, Elizabeth Stanton’s Great Big World, and

13   Laura McKenzie’s Traveler.
14
           3.     Plaintiffs allege the following against Defendants: (count one) Copyright
15
16   Infringement (Bristol-ogy 101):—that Defendants, and each of them, infringed upon

17   Plaintiffs’ copyrighted work, entitled Bristol-ogy 101, by producing and airing a
18
     derivative series, entitled Bristol Palin: Life’s a Tripp; (count two) Copyright
19
20   Infringement (Hey Lady)—that Defendants Associated Television and McKenzie
21   infringed upon Plaintiffs Kyle and Christopher Masseys’ copyright in a musical
22
     composition, entitled Hey Lady, by placing and publishing the song in the Vietnam
23
24   Are You Listening episode of syndicates series Elizabeth Stanton’s Great Big World;
25   (count three) Fraud—that ATI, Helping Hands, and McKenzie committed fraud by
26
     making materially false representations to the Masseys concerning the relevant
27
28   contracts with the Masseys and the unrelated Syndicated Series; (count four) Breach
                                             4

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 1   of Contract—that Defendants breached relevant express and implied contracts by
 2
     failing to pay the Masseys for services rendered, terminating the contracts, and
 3
 4   misappropriating their television idea; (count five) Breach of the Implied Covenant

 5   of Good Faith and Fair Dealing—that Defendants violated the covenant of good
 6
     faith and fair dealing by abusing certain discretions afforded to them under the
 7
 8   contract, preventing Plaintiffs’ performance, and depriving them of the benefits under

 9   their contract; (count six) Violation of Civ. Code § 3344—that Defendants ATI and
10
     McKenzie violated Civil Code section 3344 by misappropriating Plaintiffs’ names and
11
12   images in the Syndicated Series without their permission; (count seven) Tortious

13   Interference with Prospective Economic Advantage—that Defendants tortiously
14
     interfered with Plaintiffs’ prospective economic relationship with Bristol Palin when,
15
16   after she agreed to work with Plaintiffs, Defendants terminated the Masseys and

17   induced Palin to do a substantially similar television series without the Masseys;
18
     (count eight) Violation of Bus. & Prof. Code § 17200—that Defendants violated
19
20   Business & Professions Code § 17200 by engaging in the foregoing wrongful
21   conduct; (count nine) Constructive Trust & Accounting—that Defendants should be
22
     required to account and hold in constructive trust all monies derived from their
23
24   wrongful infringements and misappropriation.
25         4.     Defendants’ Defenses: McKenzie is the Chief Executive Officer of ATI,
26
     the production company that produced Helping Hands and executed the Deal Memos
27
28   with Plaintiffs. ATI also produced the three shows mentioned in count six of the
                                              5

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 1   SAC: Elizabeth Stanton’s Great Big World, Laura McKenzie’s Traveler, and World’s
 2
     Funniest Moments. Helping Hands is an LLC created to operate the reality television
 3
 4   show of the same name. A&E is a television network that broadcasted Life’s a Tripp.

 5   A&E was not involved with any of the three shows mentioned in count six of the
 6
     SAC. Accordingly, Plaintiffs have agreed to voluntarily dismiss A&E from count six.
 7
 8         As an initial matter, Defendants will assert that all causes of action must be

 9   remitted to arbitration pursuant to contractual provisions agreed to by Plaintiffs.
10
           As to the substance of the first count in the SAC, for copyright infringement,
11
12   Defendants deny that they copied any material owned by Plaintiffs when they created

13   and produced Life’s a Tripp. In addition, Defendants will assert that any similarities
14
     between Bristol-ogy 101 and Helping Hands and Life’s a Tripp are limited to ideas
15
16   not protected by copyright law and that, in any event, the works are not substantially

17   similar. Furthermore, Defendants will allege that Plaintiffs do not own any of the
18
     material they contend Defendants copied; instead, such material is a “work-for-hire”
19
20   not owned by Plaintiffs.
21         To the extent that Plaintiffs’ other claims arise out of the alleged use of
22
     Plaintiffs’ copyrighted material, Defendants will assert that the claims are preempted
23
24   by the Copyright Act.
25         To the first count of Copyright Infringement (Bristol-ogy 101) Plaintiffs allege
26
     that they registered a pilot treatment for Bristol-ogy 101 with the Writer’s Guild of
27
28   America; they also registered that pilot with the US Copyright Office, Registration
                                               6

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 1   No. TXu001765283. However, ATI’s position is that there is a fundamental
 2
     difference between an idea (not subject to copyright protection) and the expression of
 3
 4   an idea (protectable by copyright) and thus no infringement exist. To the second

 5   count of Copyright Infringement (Hey Lady) from the information presently known,
 6
     ATI is under the belief that no such infringement exists and therefore the Plaintiff is
 7
 8   not entitled to any damages.

 9         With respect to the third count (fraud), ATI contends that from a procedural
10
     standpoint, Plaintiffs’ SAC fails to meet the specificity requirements for pleading a
11
12   cause of action based on fraud/deceit. Plaintiffs make broad, vague accusations with

13   respect to “wrongful acts” allegedly committed by defendants. Furthermore, this
14
     claim represents nothing more than Plaintiffs’ attempt at duplicative recovery based
15
16   on their allegations of breach of the Deal Memos executed with ATI. Beyond the

17   aforementioned pitfalls in Plaintiffs’ fraud and deceit claim, ATI contends that it
18
     honored the Deal Memos with Plaintiffs. ATI paid out a substantial sum of money
19
20   based upon performance by both ATI and Plaintiffs with respect to the Deal Memos.
21   Moreover, ATI contends that it was Plaintiffs’ wrongful conduct that constitutes a
22
     breach of the Deal Memos, and any resolution of outstanding payments based on those
23
24   contracts must be offset by amounts already paid to Plaintiffs, property damage
25   resulting from Plaintiffs’ conduct, and defamatory statements made by Plaintiffs that
26
     have damaged the Palin project and ATI.
27
28         A&E will assert that none of the claims is adequately pled, and, in fact, in most
                                              7

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 1   cases, no charging allegations are made against A&E. Thus, no counts are stated and
 2
     A&E is not on notice of the facts underlying the claims brought against it.
 3
 4         Furthermore, A&E will assert that Plaintiffs’ claims for breach of contract,

 5   breach of the implied covenant of good faith and fair dealing, and unfair competition,
 6
     (counts four, five, and eight) arise out of contracts to which A&E is not a party. A&E
 7
 8   cannot therefore be liable on those causes of action.

 9         With respect to the claim for misappropriation in particular (count six), A&E
10
     will assert that Life’s A Tripp does not use the names, likenesses, photographs or
11
12   voices of any of the Plaintiffs, and therefore, there can be no misappropriation claim

13   as a matter of law. As to the remaining shows in which the name and likeness of Kyle
14
     and Christopher Massey were allegedly misappropriated, they were not broadcast by
15
16   A&E, and A&E had no role whatsoever in their creation or production.

17         In addition to the above, ATI contends that it had authorization at all time to use
18
     the name and likeness of Kyle and Christopher Massey pursuant to written
19
20   agreements, having paid them and by and through the understanding of all the parties
21   involved at the various filming locations.
22
           Defendants will assert that the ninth cause of action, for constructive trust and
23
24   accounting, states no claim upon which relief can be granted. It is a mere request for
25   relief with no legal basis.
26
           Defendants reserve the right to assert additional defenses and claims as the facts
27
28   develop through discovery.
                                                  8

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 1         5.      All Prior and Pending Motions: Plaintiffs contemplate filing any and all
 2
     dispositive motions, including a motion for partial summary judgment and/or motion
 3
 4   for summary judgment. Defendants contemplate filing a motion to compel arbitration,

 5   which will be promptly filed no later than 21 days from Plaintiffs’ service of the
 6
     Second Amended Complaint. To the extent that motion is not granted, Defendants
 7
 8   will file a motion to dismiss for failure to state a claim pursuant to FRCP 12(b)(6)

 9   fourteen (14) days after the ruling on the motion to compel arbitration. Defendants
10
     are also considering and reserve the right to file a special motion to strike under Cal.
11
12   Civ. Code § 425.16 and a motion for summary judgment.

13         6.      Added Parties or Claims: The parties have entered into a Stipulation to
14
     file a Second Amended Complaint, which clarifies allegations and adds additional
15
16   claims for copyright infringement and imposition of a constructive trust and

17   accounting.
18
           Defendants anticipate no additional parties joining the litigation.
19
20         7.      Discovery Matters: Plaintiffs intend to propound written discovery,
21   including requests for admissions, document requests and interrogatories. In addition,
22
     Plaintiffs will take party depositions, including depositions of percipient witnesses and
23
24   depositions of any designated experts. Plaintiffs currently estimate taking, at least, 10
25   percipient witness depositions, including David McKenzie, Laura McKenzie, and
26
     Elizabeth Stanton, to commence in late November, or early December. The scope of
27
28   discovery relates to the subject matter of the television series at issue in this case, the
                                                9

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  1   transactional documents, if any, relating thereto, and all matters reasonably calculated
  2
      to lead to the discovery of admissible evidence as to Plaintiffs’ claims of fraud, breach
  3
  4   of contract, misappropriation, tortious interference, unfair business practices, and

  5   accounting.
  6
            Plaintiffs anticipate discovery disputes arising from Defendant Associated
  7
  8   Television International, Helping Hands, LLC, and David McKenzie’s failure to

  9   provide a full and accurate accounting of monies received from the Bristol Palin
 10
      Series and Syndicated Series.
 11
 12         A&E anticipates serving discovery regarding the alleged creation of

 13   copyrighted material. To the extent other claims survive a motion to dismiss,
 14
      discovery will be needed respecting the basis of claims alleged against A&E for
 15
 16   breaches of contracts to which it is not a party, and for the basis of claims supporting

 17   Plaintiffs’ causes of action against A&E for unfair competition, misappropriation,
 18
      constructive trust, and tortious interference.
 19
 20         ATI anticipates serving discovery regarding the alleged creation of copyrighted
 21   material. To the extent other claims survive a motion to dismiss, discovery will be
 22
      needed respecting the basis of claims alleged against ATI for fraud, breaches of
 23
 24   contracts, and for the basis of claims supporting Plaintiffs’ causes of action against
 25   ATI for unfair competition, misappropriation, constructive trust, and tortious
 26
      interference. This will include written discovery, as well as, depositions of the
 27
 28   Plaintiffs’ and various other individuals that participated in the alleged creation of the
                                                10

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  1   various copyrighted works.
  2
            8.      Discovery Schedule: The parties propose the following discovery
  3
  4   schedule in light of the anticipated motion to compel arbitration:

  5               The parties have agreed to serve initial disclosures fourteen (14) days
  6
                    after the Court’s ruling on the motion to compel arbitration;
  7
  8               Fact discovery completed by: nine (9) months after the Court’s ruling on
  9                 the motion to compel arbitration;
 10
                  Expert reports completed by: sixty (60) days after the close of fact
 11
 12                 discovery;
 13
                  Exchange of rebuttal expert reports by: fourteen (14) days after the
 14
                    completion of the expert reports;
 15
 16               Discovery from Plaintiffs’ experts completed by: seven (7) days after the
 17
                    exchange of rebuttal expert reports;
 18
 19               Discovery from Defendants’ experts completed by: seven (7) days after

 20                 the completion of discovery from Plaintiffs’ experts; and
 21
                  Summary judgment motions due fourteen (14) days after the completion
 22
 23                 of discovery from Defendants’ experts.

 24         9.      Jury Trial: The parties estimate and request a fourteen (14) day jury trial,
 25
      the pretrial conference to take place sixty (60) days after the Court’s ruling on motions
 26
 27   for summary judgment, and the trial itself to take place fourteen (14) days after the
 28
                                                 11

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  1   pretrial conference.
  2
            10.    Related Cases: There are no related cases or proceedings.
  3
  4         11.    Compliance with “Certification as to Interested Parties”: Each party

  5   certifies that they have complied with the certification of interested parties
  6
      requirement. Plaintiff re-certifies that the following parties have a direct, pecuniary
  7
  8   interest in the outcome of this case: Plaintiffs Massey Enterprise International, Inc.,

  9   Boy-O-Boy Entertainment, Inc., Angel Massey, Christopher Massey, Kyle Massey,
 10
      on the one hand, and Defendants A&E Television Networks, LLC, Associated
 11
 12   Television International, Helping Hands, LLC, and David McKenzie, also known as

 13   David Stanton.
 14
            12.    Settlement & ADR: The parties have selected private mediation (ADR
 15
 16   Option 3), before the Honorable George Schiavelli (Ret.) on September 5, 2012.

 17   Defendants have indicated that there may be insurance coverage for the claims
 18
      asserted and have asked to resume the mediation within the next 30 days.
 19
 20         13.    Complexity: The parties do not presently propose that the Court use the
 21   procedures of the Manual for Complex Litigation.
 22
            14.    Orders Under FRCP 16 or 26(c): The parties do not currently propose
 23
 24   the entry of any orders contemplated by FRCP 16(b) or (c), although the parties may
 25   propose such orders as the case proceeds. The parties anticipate requesting that the
 26
      Court enter a stipulated confidentiality agreement and protective order under FRCP
 27
 28   26(c) to protect A&E’s trade secret and other confidential business information. The
                                              12

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  1   parties will negotiate a mutually acceptable form of such a proposed order to submit to
  2
      the Court.
  3
  4   Dated: October 8, 2012          LAW OFFICES OF COURTNEY M. COATES
  5
  6                                   By:    /s/ Courtney M. Coates
                                             Courtney M. Coates, Esq.
  7                                          Attorneys for Plaintiffs MASSEY
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                                             BOY-O-BOY ENTERTAINMENT, INC.,
  9                                          ANGEL MASSEY, CHRISTOPHER
 10                                          MASSEY, KYLE MASSEY

 11
      Dated: October 8, 2012         SIDLEY AUSTIN LLP
 12
 13
 14                                  By:      /s/ Stephen G. Contopulos
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 18
      Dated: October 8, 2012         ROPERS, MAJESKI, KOHN & BENTLEY
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                                           known as DAVID STANTON
 25
 26
 27
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